          Case 20-03295 Document 1 Filed in TXSB on 07/13/20 Page 1 of 6
         Case 18-03276 Document 17 Filed in TXSB on 12/14/18 Page 1 of 18


                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

IN RE:                                      §
                                            §
NEIGHBORS LEGACY HOLDINGS, INC.,            §     CASE NO. 18-33836-H1-11
                                            §     (Chapter 11)
       Debtor.                              §

 MARK SHAPIRO, TRUSTEE                      §
 OF THE UNSECURED CREDITOR TRUST            §
OF NEIGHBORS LEGACY HOLDINGS,               §
INC. AND ITS DEBTOR AFFILIATES              §          ADV. P. NO.__________
                                            §
      Plaintiff                             §
                                            §
VS.                                         §
                                            §
                                            §
ZENITH REAL ESTATE MANAGEMENT,              §
INC.                                        §
                                            §
Defendant.                                  §



                       PLAINTIFF’S ORIGINAL COMPLAINT
            Case 20-03295 Document 1 Filed in TXSB on 07/13/20 Page 2 of 6




       TO THE HONORABLE MARVIN ISGUR, U.S. BANKRUPTCY JUDGE: COMES NOW,

PLAINTIFF MARK SHAPIRO, TRUSTEE OF THE UNSECURED CREDITOR TRUST OF

NEIGHBORS LEGACY HOLDINGS, INC. AND ITS DEBTOR AFFILIATES and files this

Original Complaint, and for cause of action would show as follows:

                                                  I.
                                       Jurisdiction and Venue

       1.      This adversary proceeding is commenced in accordance with Rule 7001(1) of the

Federal Rules of Bankruptcy Procedure.

       2.      This Court has subject-matter jurisdiction over this over this action pursuant to 28

U.S.C. §1334(b) because this adversary proceeding arises in, arises under, and/or relates to the

Neighbors Debtor Entities chapter 11 case(s).

       3.      This adversary proceeding is a “core” proceeding pursuant to 28 U.S.C. §157(b)(2).

       4.      Pursuant to Federal Rule of Bankruptcy Procedure 7008, the Unsecured Creditor

Trustee consents to entry of a final order or judgment by the Bankruptcy Court in this matter.

       5.      Venue is proper in this district under 28 U.S.C. §1409(a). This adversary proceeding

is related to a bankruptcy case under Chapter 11 of the Bankruptcy Code that is pending in this district

as consolidated case number 18-33836.

       6.      The statutory basis for this complaint is §§547 of the Bankruptcy Code.
             Case 20-03295 Document 1 Filed in TXSB on 07/13/20 Page 3 of 6



                                                      II.
                                                    Parties

        7.      Plaintiff Mark Shapiro, Trustee of the Unsecured Creditor Trust (“Unsecured Creditor

Trustee”), brings this action on behalf of the Unsecured Creditor Trust created as a part of the

Confirmation Order approving the First Amended Joint Plan of Liquidation of Neighbors Legacy

Holdings, Inc. and its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code (the “Plan”).

        8.      Defendant Zenith Real Estate Management Group, Inc. is a Texas corporation and

may be served through its Registered Agent Ayman Nasser at 2900 Wilcrest Drive, Suite 100,

Houston, Texas 77042.

                                                   III.
                                             Background Facts


        9.    On July 12, 2018 (the “Petition Date”), the Neighbors Defendants and certain other

affiliates1 (collectively, the “Neighbors Debtor Entities”) filed voluntary petitions for relief under

chapter 11 of the Bankruptcy Code.




1
 The Neighbors Debtor Entities include Neighbors Legacy Holdings, Inc., Neighbors Global Holdings, LLC, Neighbors
Health, LLC, NEC Bellaire Emergency Center, LP, NEC Kingwood Emergency Center, LP, NEC Baytown Emergency
Center, LP, NEC Pasadena Emergency Center, LP, NEC Pearland Emergency Center, LP, NEC Lakeline Emergency
Center, LP, NEC Beaumont Emergency Center, LP, NEC Mueller Emergency Center, LP, NEC Yorktown Emergency
Center, LP, NEC Crosby Emergency Center, LP, NEC Orange Emergency Center, LP, NEC Midland Emergency Center,
NEC Zaragoza Emergency Center, LP, NEC Tyler Emergency Center, LP, NEC Eastside Emergency Center, LP, NEC
Port Arthur Emergency Center, LP, NEC Texas City Emergency Center, LP, NEC Odessa Emergency Center, LP, NEC
Harlingen Emergency Center, LP, NEC Amarillo Emergency Center, LP, NEC Porter Emergency Center, LP, NEC
Brownsville Emergency Center, LP, NEC McAllen Emergency Center, LP, NEC Wichita Falls Emergency Center, LP,
NEC Longview Emergency Center, LP, NEC Texarkana Emergency Center, LP, NEC San Angelo Emergency Center,
LP, NEC College Station Emergency Center, LP, NEC Lufkin Emergency Center, LP, NEC West Warwick Emergency
Center, LP, NEC Lubbock Emergency Center, LP, NEC Greeley Emergency Center, LP, Next Door Urgent Care, LLC,
NEC Paris Emergency Center, LP, NEC Kerrville Emergency Center, LP, NEC Amarillo South Emergency Center, LP,
EDMG, LLC, Neighbors Emergency Center, LLC, Neighbors GP, LLC, Neighbors Physician Group, PLLC, Neighbors
Practice Management, LLC, Neighbors Physician Group – Colorado, LLC, NEC Pharr Emergency Center, LP, NEC
Kingwood Asset Holdings, LLC, NEC Baytown Asset Holdings, LLC, NEC Pearland Asset Holdings, LLC, NEC
Beaumont Asset Holdings, LLC.
              Case 20-03295 Document 1 Filed in TXSB on 07/13/20 Page 4 of 6



           10. On March 22, 2019, the Court entered an Order (the “Confirmation Order”) confirming

the First Amended Joint Plan of Liquidation of Neighbors Legacy Holdings, Inc. and its Debtor

Affiliates Under Chapter 11 of the Bankruptcy Code (the “Plan”).

           11. The Confirmation Order and Plan, among other things, approved the formation of the

Unsecured Creditor Trust on the effective date of the Plan, which occurred on April 8, 2019 (the

“Effective Date”) and the appointment of the Unsecured Creditor Trustee to administer the Unsecured

Creditor Trust.

           12. Pursuant to the Plan, the Unsecured Creditor Trust is charged with maximizing value for

the benefits of its beneficiaries. As a part of the Plan, the Neighbors Debtor Entities retained certain

causes of action, including those asserted in this matter.2 Those Retained Causes of Actions were

then subsequently assigned to the Unsecured Creditor Trust as a part of the establishment of the trust.3

           13. Accordingly, the Unsecured Creditor Trustee now brings the claims asserted below and

would show the Court the following:

                 B.         Neighbors Emergency Centers Preference Action

           14. The Neighbors Debtor Entities are a group of entities that that owned and operated

freestanding emergency centers in and around the State of Texas.

           15. Starting in 2014, Neighbors undertook a massive expansion campaign fueled by debt.

Initially, this expansion was funded by a $31 million debt transaction with BBVA Compass in 2014,

which was later increased to $50 million. By the end of 2015, Neighbors had opened eighteen

locations.




2
    See the Plan at Cause No. 18-33836, Docket No. 854 at ¶123.
3
    See Unsecured Creditor Trust Agreement at Cause No. 18-33836, Docket No. 802-2 at p. 5.
             Case 20-03295 Document 1 Filed in TXSB on 07/13/20 Page 5 of 6



       16. To further fuel Neighbors’ expansion vision, it also obtained a $150 million term loan

from a syndicate led by Key Bank in late 2015. By the end of 2016, Neighbors had continued its

massive expansion plans, having opened a total of thirty-two locations.

       17.      Defendants received a payment of $183,643.00 on June 26, 2018 for rent from the

Neighbors Debtor Entities, and then an additional payment of $183,643.00 for rent on June 30, 2018.

This transfer was given to the benefit of Defendants for a debt owed by the Neighbors Debtor Entities

and was within 90 days of the Neighbors Debtor Entities filing the bankruptcy petition.

                                                 IV.
                                      Claims and Cause of Action
                       Recovery of Preference Pursuant to 11 U.S.C. §§547

       18.      The Unsecured Creditor Trustee repeats and re-alleges the above paragraphs as if fully

set forth herein. The Unsecured Creditor Trustee seeks to avoid the second transfer of $183,643.00

as a preference in violation of 11 U.S.C. § 547(b).

       19.      The Neighbors Debtor Entities made the Transfers to or for the benefit of the

Defendants on account of a debt owed by the Neighbors Debtor Entities. Specifically, the cash from

Neighbors Debtor Entities bank account was sent directly to the Defendant. The payments were made

to the Defendant within 90 days of the filing of the bankruptcy petition, and Defendants received two

rental payments in the same month, each for $183,643.00. Based on available previous records, the

regular monthly payment to Defendants was $183,643.00, indicating that the second payment is a

voidable preference as it was not made in the ordinary course.

       20.      Therefore, the Transfers are avoidable as a preference under 11 U.S.C. § 547.
  Case 20-03295 Document 1 Filed in TXSB on 07/13/20 Page 6 of 6



                                        V.
                                      Prayer

WHEREFORE, the Unsecured Creditor Trustee demands judgment against the Defendants:

 A. Determining that the transfers are avoidable as preference under 11 U.S.C. §
    547.
 B. Directing the Defendants to pay the Unsecured Creditor Trustee the value of the
    preference in the amount determined at trial, but not less than the amount set
    forth above, plus interest and costs of suit under 11 U.S.C. §550(a).
 C. For such other and further relief as the Court deems just and proper.




                                    Respectfully Submitted,

                                    WALSTON BOWLIN, LLP

                                    /s/ Clifford H. Walston
                                    CLIFFORD WALSTON
                                    cliff@walstonbowlin.com
                                    State Bar No. 24037666
                                    4299 San Felipe Street, Suite 300
                                    Houston, Texas 77027
                                    (713) 300-8700
                                    (713) 583-5020 Fax
                                    ATTORNEY FOR PLAINTIFF
